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        EXHIBIT B
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Subject:        Internet Archive

Date:           Fri, 21 Aug 2020 10:56:39 -0700

From:           Brewster Kahle <brewster@archive.org>

To:             Ken Doroshow <kdoroshow@riaa.com>




Mr. Doroshow,

The Internet Archive is a non-profit library. Far from the extreme
characterization in your letter, our library thoughtfully collects and
preserves cultural materials, including historical sound recordings
across a number of formats, often in collaboration with other libraries,
archives, companies, and creatives.

The Great 78 Project in particular is a community project for the
preservation, research and discovery of 78rpm records. As you are no
doubt aware, these records are extremely brittle and the format--in use
from the late 1800s to the 1950s--is obsolete. The fragility of the
discs, their relative obscurity, and the scarcity of equipment to play
the physical items mean that we may lose access to millions of
recordings if they are not preserved now. Digitizing these materials is
important to ensure the survival of these cultural materials for future
generations to study and enjoy.

Your letter highlights a few still known artists who started their
recording careers during the period when 78s were in use. However, most
of the recordings in this collection are obscure and rare. Due to the
age of these records, the Great 78 Project is primarily a digital
reference collection of underrepresented artists and genres, many of
which have never been released in digital form. It enables researchers
and others the ability to listen to artists who may still be known today
in their historical and cultural context. Because these recordings were
not eligible for federal copyright until passage of the Music
Modernization Act, we understand that they were never deposited with the
US Copyright Office. As such, there is no complete historical record of
these materials stored elsewhere.

Our preservation process is not like the digital remastering that is
used for commercial re-releases of these older materials. Instead, we
painstakingly capture the often very prominent surface noise that is
inherent in playing this obsolete format in real time. Our preservation


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records are simply not substitutes for a commercial release.

Based on our conversations with your members, they seem to understand
the importance of our work. To the extent that there may be particular
recordings that your members may prefer to have removed from public
access because they are currently being commercially exploited, we work
with them according to standard procedures. Fortunately, no one wants
this collection to be broken apart. The context it can provide to
current and future researchers is both important and unique. We hope
that when this pandemic is over, that you and your members will come and
visit our special collections library to see how we have catalogued and
preserved these materials for the long term. You can even listen to some
of the less fragile old recordings on our 78rpm jukebox and
crank-operated Victolas.

Similarly, the “MySpace Dragon Hoard” collection appears to be a
snapshot of everything on MySpace for a two-year window of time. It is
our understanding that the company itself removed all materials prior to
2017, and this may be the only complete record of this community during
that time period. Many of the sound recordings in that collection were
made and posted by amateurs who were trying to make a name for
themselves online. Some of those artists have been able to recover their
own music that they had lost access to when MySpace deleted it. Some of
these artists may now be popular. If your members claim to own some of
these recordings and prefer to have them removed from their historical
context, they can and should submit a list of the recordings they claim
to own to info@archive.org and we will process them according to
standard procedures.

We have had conversations with your members about our work, and we are
exploring mechanisms to help them promote older works.

We also expeditiously respond to takedown notices when we receive them.
We have been working with rightsholders and other stakeholders for
decades now around these matters, and it’s going well.

I hope that you and your loved ones are safe and healthy during this
time of COVID-19.

-brewster

Digital Librarian




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